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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

RACHEL JACKSON, on behalf of
D.J.D., her child

        Plaintiff,

v.                                                            Case No: 5:20-cv-362-Oc-18PRL

COMMISSIONER OF SOCIAL
SECURITY,

        Defendant.


                                            ORDER
        This case is before the Court on the Commissioner’s unopposed motion to stay the case for

ninety days, or until the Social Security Agency (“SSA”) regains the capacity to produce the

certified transcript of the record necessary for this case. (Doc. 11). Due to the global COVID-19

crisis, the SSA has taken certain steps to maximize social distancing, including suspending in-

office services to the public and moving rapidly toward a virtual work environment.

        As a result, the SSA’s Office of Appellate Operations (“OAO”) in Falls Church, Virginia

is unable to prepare the transcript of the record for this case. Many of the OAO’s employees are

teleworking and are unable to complete the critical in person physical tasks to produce the

transcript.

        Accordingly, the Commissioner’s unopposed motion to stay (Doc. 11) is GRANTED. The

Commissioner shall file an answer and the transcript of the record for this case within 90 days or

advise the Court if another extension is needed.
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       DONE and ORDERED in Ocala, Florida on October 29, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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